Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page11
                                                 12/11/17 Page  1ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page22
                                                 12/11/17 Page  2ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page33
                                                 12/11/17 Page  3ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page44
                                                 12/11/17 Page  4ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page55
                                                 12/11/17 Page  5ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page66
                                                 12/11/17 Page  6ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page77
                                                 12/11/17 Page  7ofof
                                                                  of888
Case
 Case1:17-cr-00034-JRH-BKE
Case  1:17-cr-00034-JRH-BKE Document
     1:17-cr-00034-JRH-BKE   Document179-3
                            Document 178-3 Filed
                                      115 Filed  12/11/17
                                           Filed10/05/17   Page
                                                           Page88
                                                 12/11/17 Page  8ofof
                                                                  of888
